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                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

 UNITED STATES OF AMERICA                                    §
                                                             §
 v.                                                          §    CASE NO.: 3:16-CR-00279-L
                                                             §
 ANTONIO FLORES (1)                                          §

                     ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent
of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,
and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the
undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and
ANTONIO FLORES is hereby adjudged guilty of 21 U.S.C. § 846 (21 U.S.C. 841(a)(1) and (b)(1)(C), namely, Conspiracy
to Possess With Intent to Distribute a Controlled Substance. Sentence will be imposed in accordance with the Court's
scheduling order.

☒       The defendant is ordered to remain in custody.

☐       The Court accepts the findings of the United States Magistrate Judge by clear and convincing evidence that the
        defendant is not likely to flee or pose a danger to any other person or the community if released and should therefore
        be released under § 3142(b) or (c).

☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions
        of release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a
        danger to any other person or the community if released under § 3142(b) or (c).

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) pending determination of whether it has
        been clearly shown that there are exceptional circumstances under § 3145(c) why the defendant should not be
        detained under § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is
        not likely to flee or pose a danger to any other person or the community if released under § 3142(b) or (c). This
        matter shall be referred to the United States Magistrate Judge who set the conditions of release.


SIGNED this 23rd day of May, 2017.


                                                                  ________________________________________
                                                                  SAM A. LINDSAY
                                                                  UNITED STATES DISTRICT JUDGE




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